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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO


Civil Action No.

GRACE KEEN and JOHN KEEN

Plaintiffs,

  v.

DEPUY ORTHOPAEDICS, INC., and JOHNSON & JOHNSON, INC.,

Defendants.

________________________________________________________________

               COMPLAINT AND DEMAND FOR JURY TRIAL
________________________________________________________________

     Plaintiff, by their attorney, David P. Reiter, P.C.,
for their Complaint against Defendants DePuy Orthopaedics, Inc.
and Johnson and Johnson, Inc. (collectively “Defendants”) and
alleges:


                 PARTIES, JURISDICTION AND VENUE


            1.   Plaintiff Grace Keen is an individual and is now,

and at all times mentioned in this Complaint has been a resident

and citizen of the State of Colorado.

       2.   Plaintiff John Keen is an individual and is now, and

at all times mentioned in this Complaint has been the legal

spouse of Plaintiff Grace Keen and is a resident and citizen of

the State of Colorado.
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     3.    Defendant DePuy Orthopaedics, Inc., at all times

mentioned in this Complaint was, a corporation duly organized

and existing under the laws of Indiana, with its principal place

of business in Indiana.

     4.    Defendant Johnson and Johnson, Inc. at all times

mentioned in this Complaint was, a corporation duly organized

and existing under the laws of New Jersey, with its principal

place of business in the State of New Jersey.

     5.    The basis for federal jurisdiction is his action is

diversity of citizenship of the parties under 28 U.S.C.A. 1332.

The amount in controversy, exclusive of interests and costs,

exceeds the sum of $75,000.00.

     6.    Venue is proper in this District pursuant to 28

U.S.C.A. 1391(a) because the event giving rise to the clam that

is the subject matter of this action occurred in this District.



                       COMMON FACTUAL ALLEGATIONS


     7.    At all times mentioned in his Complaint Defendants

were engaged in the businesses of manufacturing, compounding,

assembling, inspecting, packaging, designatoring, labeling,

designing, distributing, testing, analyzing, recommending,

merchandising, advertising, promoting, supplying and selling to

wholesalers, jobbers, distributors, and retailers for resale to
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physicians, hospitals, medical practitioners, and the general

public, a certain product and/or its component parts,

ingredients, and constituents, hereinafter referred to in

addition to being a DePuy Pinnacle hip joint implant for use in

hip replacement surgery was, DePuy Pinnacle metal-on-metal hip

joint implant for use in hip replacement surgery.

     8.    On March 17, 2003, Mrs. Keen had in addition to being

a DePuy Pinnacle left hip joint implant for use in hip

replacement surgery was, a DePuy Pinnacle metal-on-metal left

hip joint implant surgically implanted within her body.

     9.    Mrs. Keen’s DePuy Pinnacle left hip joint implant for

use in replacement surgery was, a DePuy Pinnacle metal-on-metal

left hip joint implant that was designed and manufactured by

Defendants.

     10.    DePuy was engaged in the business of selling and did

sell the metal-on-metal DePuy Pinnacle hip joint implant for use

in Mrs. Keen’s left hip.

     11.    Mrs. Keen was required to have the metal-on-metal

DePuy Pinnacle left hip joint implant surgically removed on

August 4, 2017, because it was defective.

     12.    Mrs. Keen did not discover her cause of action against

Defendants until on or about August 4, 2017.        At that time, Mrs.

Keen first suspected that her physical injuries were the result

of Defendants wrongful conduct.       Mrs. Keen could not by the
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exercise of reasonable diligence, have discovered the wrongful

cause of her injuries at an earlier time since she is a

layperson without medical knowledge, the cause of said injuries

required medical and scientific knowledge she did not possess,

no medial treatise or report came to her attention which

indicated the wrongful cause of her injuries, and no general

public dissemination of information indicated the cause of said

injuries became known to her, and she had no information which

would cause her to suspect wrongdoing by the Defendants.

     13.   The metal-on-metal design of the DePuy Pinnacle hip

implant system generated high levels of metal debris, causing

metallosis in the tissue surrounding the hip and causing the hip

implant to fail.

     14.   The DePuy Pinnacle hip implant system puts the cobalt-

chromium metal DePuy Pinnacle femoral ball directly in contact

with a cobalt-chromium metal DePuy pinnacle acetabular cup.

     15.   The movement of this artificial joint produces metal-

on-metal wear debris, and the amount of toxic metal debris

produced increases as Mrs. Keen ambulated about. For example, an

MRI, utilizing MARS reduction protocols found that there is

scattered debris within the      joint fluid and this constellation

of findings is consistent with hardware complications and

aseptic lymphocytic vasculitis associated lesions or (ALVAL),

and the August 4, 2017 operative report provided that once
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inside the capsule there was brownish, thick fluid, almost mud-

like in appearance or coffee ground like in appearance, in

addition to pseudocyst, trunnionosis and pseudotumor          within the

proximal femur.

     16.   Mrs. Keen endured a painful recovery from her left hip

revision surgery and continues to suffer from injuries of a

permanent and lasting nature and discomfort as a result of the

failed DePuy hip implant system, and she takes pain killers on a

daily basis.

     17.   Mrs. Keen requires continuous medical monitoring and

treatment as a direct and proximate cause of her failed DePuy

Pinnacle Hip Implant system.

     18.   As a proximate result of the conduct of Defendants

described in this Complaint, Mrs. Keen was caused to suffer

grievous, serious and severe injuries, and sustained serious and

permanent injuries to her health, strength, and activity and

severe shock to her nervous system, and was caused to suffer and

will continue to suffer mental pain.

     19.   As a further proximate result of the conduct of

Defendants described in this Complaint, Mrs. Keen was required

to, and did employ physicians and surgeons to examine, treat,

and care for her, and she incurred, and will in the future incur

hospital, medical and incidental expenses.
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     20.   As a further proximate result of the conduct of

Defendants described in this Complaint, Mrs. Keen was prevented

from attending to her usual occupation, and thereby sustained a

loss of earnings and a diminished earning capacity.         Mrs. Keen

may continue to sustain such damages in the future and will

sustain further losses, according to proof.

     21.   Prior to the date on which the above-mentioned hip

joint implant product was used by Mrs. Keen, Defendants knew

that the product was extremely dangerous, defective, and unsafe

for use by the general public for the above-mentioned purposes.

Defendant failed to take appropriate action to cure the defects

or to appropriately warn users of this hip join implant product

or their physicians of its dangerous characteristics.


                        FIRST CAUSE OF ACTION
                      (Strict Liability in Tort)


     22.    Plaintiffs repeat and reallege each and every

allegation contained in paragraphs 1 through 21 of the Complaint

with the same force and effect as if fully set forth herein.

     23.   At all times mentioned in this Complaint, Defendants

above-mentioned hip joint implant product was defective and

unsafe, in that it was dangerous for purposes of hip replacement

surgery and caused grievous injuries to the body when used for

those purposes.
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     24.   Defendant know that its hip joint implant product was

to be used by the user without inspection for defects in the

product or in any of its components or ingredients.

     25.   Mrs. Keen neither knew, nor had reason to know, at the

time of the use of Defendants product, or at any time prior to

such use, of the existence of the defects described herein.



                         SECOND CAUSE OF ACTION
                              (Negligence)


     26.    Plaintiffs repeat and reallege each and every

allegation contained in paragraphs 1 through 25 of the Complaint

with the same force and effect as if fully set forth herein.

     27.   At all times mentioned in this Complaint, Defendants

had a duty to properly manufacture, compound, test, inspect,

package, distribute, market, examine, maintain, and prepare for

use and sell its above-mentioned hip joint implant product.

     28.   At all times mentioned in this Complaint, Defendant

knew, or in the exercise of reasonable care should have known,

that its hip joint implant product was of such a nature that if

it was not properly manufactured, compounded, tested, inspected,

packaged, distributed, marketed, examined, and sold, it was

likely to injure the user of that product.
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     29.   Defendants so negligently and carelessly manufactured,

compounded, tested, failed to test, inspected, failed to

inspect, packaged, distributed, recommended, displayed, sold,

examined and failed to examine its above-mentioned hip joint

implant product that it was dangerous and unsafe for the user

and for the purpose for which it was intended.

     30.   As a proximate result of the above-mentioned

carelessness and negligence of defendants. Defendants above-

mentioned hip joint implant product caused severe injury to Mrs.

Keen’s body and thereby proximately caused her to sustain

damages and injuries as alleged in this Complaint.



                        THIRD CAUSE OF ACTION
                     (Breach of Implied Warranty)


     31.    Plaintiffs repeat and reallege each and every

allegation contained in paragraphs 1 through 30 of the Complaint

with the same force and effect as if fully set forth herein.

     32.   At all times mentioned in this Complaint, Defendants

manufactured, compounded, packaged, distributed, recommended,

merchandised, advertised, promoted, and sold the above-mentioned

hip joint implant product as described above, and prior to the

time that the product was used by Mrs. Keen, Defendants

impliedly warranted to her and to her agents that the product
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was of merchantable quality and safe for the use for which it

was intended.

     33.    Mrs. Keen relied on the skill and judgment of

Defendants in using the above-mentioned hip joint implant

product.

     34.    Defendants hip join implant was not safe for its

intended use, nor was it of merchantable quality, as warranted

by Defendants, in that it had very dangerous propensities when

put to its intended use and would cause severe injury to the

user.   Defendants hip joint implant product proximately caused

Mrs. Keen to sustain damages and injuries as alleged in this

Complaint.

     35.    After Mrs. Keen was made aware of her injuries as

result of the use of Defendants hip joint implant, notice was

duly given to Defendants or their agents of the breach of such

warranty.



                        FOURTH CAUSE OF ACTION
                     (Breach of Express Warranty)


     36.     Plaintiffs repeat and reallege each and every

allegation contained in paragraphs 1 through 35 of the Complaint

with the same force and effect as if fully set forth herein.
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      37.   The above-mentioned manufacturing, compounding,

packaging, designing, distributing, testing, construction,

fabricating, analyzing, recommending, merchandising,

advertising, promoting, and selling of Defendants above-

mentioned hip joint implant product was expressly warranted to

be safe for Plaintiff and others considering undergoing the

implantation of hip joint implants during hip replacement

surgery.

      38.   At the time of making the express warranties,

Defendants had knowledge of the purpose for which the above-

mentioned hip joint implant product was to be used and warranted

the product to be, in all respects, fit, safe, effective, and

proper for that purpose.

      39.   Mrs. Keen and her physicians reasonably relied on the

skill and judgment of Defendants, and on such express warranty,

in using the above-mentioned hip joint implant product.

Defendants express warranty and representations were untrue, in

that the product caused severe injury to Mrs. Keen and was

unsafe and, therefore, unsuited for the use for which it was

intended, and could and did proximately cause her to sustain

damages and injuries as alleged in this Complaint.

      40.   As soon at the true nature of Defendants above-

mentioned hip joint implant product and the fact that the

express warranty and representations were false where
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ascertained, Defendants or their agents were notified of the

breach of such warranty.


                          FIFTH CAUSE OF ACTION
                                 (Fraud)


      41.    Plaintiffs repeat and reallege each and every

allegation contained in paragraphs 1 through 40 of the Complaint

with the same force and effect as if fully set forth herein.

      42.   Defendants falsely and fraudulently represented to

Plaintiff, her physicians, and other members of the general

public, that Defendants above-mentioned hip joint implant

product was safe for use in hip replacement surgery.          The

representations by Defendants were, in fact, false.          The true

facts were that Defendants above-mentioned hip joint implant

product was not safe for use in hip replacement surgery and was,

in fact, dangerous to the health and body of Mrs. Keen.

      43.   When Defendants    made the above-mentioned

representations, it knew them to be false, and such

representations were made by Defendants with the intent to

defraud and deceive Mrs. Keen, and with the intent to induce her

to act in the manner alleged, that is, to use Defendants above-

mentioned hip joint implant product in hip replacement surgery.
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      44. As a proximate result of Defendants above-described

fraud and deceit, Mrs. Keen sustained the injuries and damages

described in this Complaint.

      45.   In doing the acts alleged in this Complaint,

Defendants acted with oppression, fraud, and malice.          Such

wrongful conduct was done with the advance knowledge,

authorization, and/or ratification of an officer, director,

and/or managing agent of Defendants.



                         SIXTH CAUSE OF ACTION
                     (Negligent Misrepresentation)


      46.    Plaintiffs repeat and reallege each and every

allegation contained in paragraphs 1 through 45 of the Complaint

with the same force and effect as if fully set forth herein.

      47.   Defendants falsely represented to Mrs. Keen, her

physicians, and other members of the general public, that

Defendants hip joint implant product was safe for use in hip

replacement surgery.     The representations by Defendant were, in

fact, false.    The true facts were that Defendants hip joint

implant product was not safe for use in hip replacement surgery

and was, in fact, dangerous to the health and body of Mrs. Keen.

      48.   Defendants made the above-mentioned representations

with no reasonable ground for believing them to be true, and

Defendants did not have accurate or sufficient information
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concerning the representations, and Defendants were aware that

without such information, it could not accurately make the

representations.

      49.   At the time the above-mentioned representations were

made, Defendants concealed from Mrs. Keen, and her physician,

its lack of information and consequent inability to make the

representations accurately.

      50.   At the time the representations were made by

Defendants and at the time Mrs. Keen and her physicians took the

actions alleged in this Complaint, Mrs. Keen and her physicians

were ignorant of the falsity of Defendants representations and

reasonably believed them to be true.        In reliance on Defendants

representations, Mrs. Keen and her physicians were induced to,

and did, use Defendants hip joint implant in her hip replacement

surgery.    If Mrs. Keen and her physicians had known the actual

facts, they would not have taken such action.         The reliance of

Mrs. Keen and her physicians on Defendants representations was

justified because the representations were made by individuals

and entities who appeared to be in a position to know the true

facts.

      51.   As a proximate result of Defendants false

representations and concealment, Mrs. Keen was caused to sustain

the injuries and damages described in this Complaint.
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                         SEVENTH CAUSE OF ACTION
                          (Loss of Consortium)


      52.    Plaintiffs repeat and reallege each and every

allegation contained in paragraphs 1 through 51 of the Complaint

with the same force and effect as if fully set forth herein.

      53.   As a result of the above-mentioned actions of

Defendants John Keen has been deprived of the person, affection,

society companionship, services, aid and comfort of his wife,

Grace Keen and has performed numerous services for her.

      54.   As a result of the acts and omissions of the

Defendants, Plaintiffs have suffered damages.         The damages

sustained by the Plaintiffs include economic damages, past and

future medical expenses, damages for lost time and earnings and

earning capacity, damages relating to and for further economic

and non-economic damages for grief, loss of companionship, pain

and suffering, permanent impairment, permanent disfigurement,

emotional stress, related expenses pre and post judgment

interest, costs and attorney fees.

      55.   Plaintiffs reserve the right to amend their Complaint.



 WHEREFORE, Plaintiffs request judgment be entered in their favor

and against Defendants for damages as stated, together with

costs, interest and attorney’s fees, and for such further relief

as this Court deems just and necessary.
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                                JURY DEMAND

              PLAINTIFFS MAKE DEMAND FOR TRIAL TO A JURY



                  DATED this 26th day of July, 2019.



                                   Respectfully submitted,

                                   DAVID P. REITER, P.C.

                                   /s/ David P. Reiter
                                   _______________________________
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